1    Clayton Cook-Mowery #41110                                         Hon. Judge Timothy W. Dore
     Advantage Legal Group                                                               Chapter 13
2
     12207 NE 8th Street
3    Bellevue WA 98005

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5
                              UNITED STATES BANKRUPTCY COURT
6
                              WESTERN DISTRICT OF WASHINGTON
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     In Re:
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                                                        ADVERSARY COMPLAINT
10
     Julian FLORES
11                                                      SEEKING LIEN AVOIDANCE
     Debtor,
12                                                      OF WHOLLY UNSECURED
13
     Julian FLORES
                                                        LIEN
14   Plaintiff,
15
                             vs.
16
                                                        Case No.: 11-20512
     City National Bank
17                                                      Adversary No. ______________
18
     Defendant

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                                   ADVERSARY COMPLAINT SEEKING
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22                      LIEN AVOIDANCE OF WHOLLY UNSECURED LIEN

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     NOW COME, The Plaintiff, Julian Flores, by and through his attorney Clayton Cook-Mowery of
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     Advantage Legal Group, and for the purpose of this complaint alleges the following:
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     1. This adversary proceeding arises out of Plaintiff’s Chapter 13 case now pending before this
     Court. This Court has jurisdiction to consider the matters herein pursuant to 28 U.S.C. §§ 157 and
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                                                                 ADVANTAGE LEGAL GROUP
                                                                           th
     ADVERSARY COMPLAINT SEEKING LIEN AVOIDANCE OF               12207 NE 8 Street
     WHOLLY UNSECURED LIEN - 1 of 3                              Bellevue WA 98005


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1    1334 and 11 U.S.C § 506 and 1322. This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A),
2    (B), (K), and (O).
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     2. Plaintiff is natural person living in Federal Way, King County, Washington.
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5    3. Defendant City National Bank is a corporation licensed to do business, and actually doing
6    business within the State of Washington.
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     4. Plaintiff is the owner of a parcel of real estate located in Seattle, King County, Washington: (1)
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     commonly described as 30414 1st Place South, Federal Way, WA 98003 (2) legally described as
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     Lot 26, Holiday Park No. 2, Vol. 68, page 75, located in Seattle, King County, Washington.
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11   5. Prior to the filing of this bankruptcy case, Plaintiff allegedly executed a second lien in favor of

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     Defendant, or Defendant’s predecessor, evidencing a loan by Defendant and recorded in the King
     County, Washington real estate records.
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     6. On the date of filing of Plaintiffs’ Chapter 13 Petition, September 1, 2011, Plaintiff was
15   allegedly indebted to Defendant or its successors and/or assigns under such instrument in the
16   approximate sum of $43,923.00 for the second lien. See Schedule D.
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     7. On the date of filing of Plaintiffs’ Chapter 13 Petition, the value of Plaintiffs’ real property
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     described above was $138,900.00, as stated in Schedule A of Plaintiffs’/Debtors’ bankruptcy. On
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     that date, the debt owing to senior lienholder JPMorgan Chase, was approximately $177,293.00.
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     See Schedule D. Total senior liens to Defendant totaled $177,293.00.
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22   9. No equity in Plaintiffs’ real property exists to which Defendant’s lien can attach. Therefore,
     pursuant 11 U.S.C. §§ 506 and 1322, and in re Zimmer, 313 F.3d 1220 (9th Cir. 2002), Plaintiff is
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     entitled to “strip off” the lien held by Defendant so that such lien becomes voided and no longer
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     remains a lien against Plaintiffs’ real property.
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27
                                           PRAYER FOR RELIEF
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                                                                     ADVANTAGE LEGAL GROUP
                                                                               th
     ADVERSARY COMPLAINT SEEKING LIEN AVOIDANCE OF                   12207 NE 8 Street
     WHOLLY UNSECURED LIEN - 2 of 3                                  Bellevue WA 98005


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1    WHEREFORE, Plaintiff prays for a judgment and order voiding the Defendant’s deed of trust,
2    adjudging that the note is no longer secured by the deed of trust against the above-described real
3    property unless this Chapter 13 case is later dismissed prior to discharge, and for such other and

4    further relief as this Court might deem just and equitable.

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7    Respectfully submitted this 28th day of December, 2011.

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                                                           /s/ Clayton Cook-Mowery
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                                                           Clayton Cook-Mowery, WSBA #41110
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11                                                         Attorney for Plaintiffs/Debtors

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                                                                   ADVANTAGE LEGAL GROUP
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     ADVERSARY COMPLAINT SEEKING LIEN AVOIDANCE OF                 12207 NE 8 Street
     WHOLLY UNSECURED LIEN - 3 of 3                                Bellevue WA 98005


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